







		NO. 12-08-00317-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




MICHAEL R. TIMMONS,§
		APPEAL FROM THE 

APPELLANT


V.§
		COUNTY COURT AT LAW


CARLA L. PHELPS AND IN

THE INTEREST OF K.D.T., §
		SMITH COUNTY, TEXAS

A MINOR CHILD






MEMORANDUM OPINION


	PER CURIAM


	Appellant Michael Timmons filed a notice of appeal on July 24, 2008 evidencing his intent
to appeal a default judgment entered in trial court cause number 02-3178-E in the County Court at
Law No. 2 of Smith County.  

	On July 29, 2008, this court notified Timmons, pursuant to Texas Rule of Appellate
Procedure 37.2, that the information received in this appeal does not show the jurisdiction of this
court because it does not include a final judgment or other appealable order.  Timmons was further
notified that the appeal would be dismissed unless, on or before August 28, 2008, the information
was amended to show the jurisdiction of this court.  On August 20, 2008, Timmons furnished this
court with a copy of a default "Order Establishing the Parent-Child Relationship" signed on
August&nbsp;13, 2003 by the judge of the 321st Judicial District Court of Smith County.  

	A notice of appeal must be filed within thirty days after the judgment is signed, subject to
certain exceptions not applicable here.  See Tex. R. App. P. 26.1.  Thus, to invoke this court's
jurisdiction, Timmons's notice of appeal from the August 13, 2003 order must have been filed on
or before September 12, 2003.  Because it was not, we have no jurisdiction to review any alleged
error in the August 13, 2003 order.  Consequently, although Timmons responded to the July 29,
2008 notice, he has not shown this court's jurisdiction of this appeal.  Accordingly, this appeal is
dismissed  for want of jurisdiction.  See Tex. R. App. P. 42.3(a), (c).

Opinion delivered September 3, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.











































(PUBLISH)



